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            In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                    Filed: June 1, 2022

* * * * * * * * * * * * * * *
TENEISHA C. DAVIS,            *                     UNPUBLISHED
                              *
           Petitioner,        *                     No. 18-1763V
                              *
v.                            *                     Special Master Dorsey
                              *
SECRETARY OF HEALTH           *                     Decision Based on Stipulation;
AND HUMAN SERVICES,           *                     Influenza (“Flu”) Vaccine;
                              *                     Guillain-Barré Syndrome (“GBS”).
           Respondent.        *
                              *
* * * * * * * * * * * * * * *

Jimmy A. Zgheib, Zgheib Sayad, P.C., White Plains, NY, for Petitioner.
Christine M. Becer, U.S. Department of Justice, Washington, DC, for Respondent.

                          DECISION BASED ON STIPULATION1

       On November 15, 2018, Teneisha C. Davis (“Petitioner”) filed a petition in the National
Vaccine Injury Compensation Program.2 Petitioner alleged that as a result of an influenza (“flu”)
vaccine on October 16, 2017, she developed Guillain-Barré syndrome (“GBS”). Petition at 1
(ECF No. 1).

        On June 1, 2022, the parties filed a stipulation recommending an award of compensation
to Petitioner. Stipulation (ECF No. 70). Respondent denies that the flu vaccine caused
Petitioner to suffer GBS or any other injury or her current condition. Id. at ¶ 6. Nevertheless,

1
 Because this Decision contains a reasoned explanation for the action in this case, the
undersigned is required to post it on the United States Court of Federal Claims’ website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). This means the Decision will
be available to anyone with access to the Internet. In accordance with Vaccine Rule 18(b),
Petitioner has 14 days to identify and move to redact medical or other information, the disclosure
of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such
material from public access.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2012) (“Vaccine Act” or “the Act”). All citations in this Decision
to individual sections of the Vaccine Act are to 42 U.S.C. § 300aa.


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the parties agree to the joint stipulation, attached hereto as Appendix A. The undersigned finds
the stipulation reasonable and adopts it as the decision of the Court in awarding damages, on the
terms set forth therein.

       The parties stipulate that Petitioner shall receive the following compensation:

       (1) A lump sum of $417,265.15, which amount represents compensation for first
           year life care expenses, lost earnings, pain and suffering, and past
           unreimbursable expenses in the form of a check payable to Petitioner; and

       (2) An amount sufficient to purchase the annuity contract described in paragraph
           10 of the stipulation, paid to the life insurance company from which the annuity
           will be purchased.

       This amount represents compensation for all damages that would be available under 42
U.S.C. § 300aa-15(a). Stipulation at ¶ 8.

      The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.3

       IT IS SO ORDERED.


                                             s/Nora Beth Dorsey
                                             Nora Beth Dorsey
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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